                IN THE DISTRICT COURT OF EL PASO COUNTY, TEXAS
                             205TH JUDICIAL DISTRICT

ANNUNCIATION HOUSE, INC.,                   §
                                            §
       Plaintiff,                           §
                                            §
v.                                          §
                                            §                         Cause No. 2024DCV0616
KEN PAXTON, in his official capacity as     §
Texas Attorney General, and JENNIFER        §
COBOS, in her official capacity as Director §
of Regional Operations & Strategy for the §
Office of the Attorney General,             §
                                            §
       Defendants.                          §

                        ORDER GRANTING
              PLAINTIFF ANNUNCIATION HOUSE, INC.’S
TRADITIONAL AND NO-EVIDENCE MOTION FOR FINAL SUMMARY JUDGMENT

       Plaintiff Annunciation House, Inc. (“Annunciation House”) filed its traditional and no-

evidence motion for final summary judgment on May 24, 2024. In its motion, Annunciation

House identifies three issues for relief:

       1. Summary judgment declaring all reasons why the administrative subpoena that
          Defendant Texas Attorney General Ken Paxton served on Annunciation House is
          void and unenforceable;

       2. Summary judgment declaring what procedures comprise the pre-compliance review
          that the Fourth Amendment requires for administrative subpoenas; and

       3. Injunctive relief making the Court’s declaratory judgments effective.

       For the reasons set forth below, the Court grants Annunciation House the relief requested

in its Traditional and No-Evidence Motion for Summary Judgment.




                                               1
        1.       Defendant Texas Attorney General Ken Paxton’s administrative subpoena
                 violates the Fourth Amendment of the United States Constitution and is void and
                 unenforceable.

        In City of Los Angeles v. Patel, 576 U.S. 409, 413 (2015), the United States Supreme

Court held a Los Angeles ordinance facially unconstitutional because it required hotel guests’

records to “be made available to any officer of the Los Angeles Police Department for

inspection” on demand. The Supreme Court went on to hold that “absent an opportunity for

precompliance review, the ordinance creates an intolerable risk that searches authorized by it will

exceed statutory limits, or be used as a pretext to harass hotel operators and their guests.” Id. at

421.

        The Supreme Court’s concern that the absence of an opportunity for precompliance

review creates “an intolerable risk” that searches like these will be used as a pretext to harass

guests and operators of such lodgings has come to bear.

        The record before this Court makes clear that the Texas Attorney General’s use of the

request to examine documents from Annunciation House was a pretext to justify its harassment

of Annunciation House employees and the persons seeking refuge. This Court previously

expressed its concern that the Attorney General did not identify what laws he believed were

being violated from the outset. See Order of March 10, 2024, ¶ 1. In fact, the record before the

Court now establishes that the Attorney General was seeking evidence of alleged criminal

activity all along. This is outrageous and intolerable. 1




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 In its Proposed Petition and Counterclaim in the Nature of Quo Warranto, the Attorney General alleges a litany of
criminal violations – 8 U.S.C. § 1325(a) (Improper Entry by Alien); Tex. Penal Code § 20.05(a)(2) (Kidnapping,
Unlawful Restraint, and Smuggling of Persons); Tex. Penal Code § 20.07(a) (Operation of Stash House); Tex. Penal
Code § 37.10 (Tampering with Government Record); and Tex. Penal Code § 38.05 (Hindering Apprehension or
Prosecution). See Prop. Pet. & Counterlcaim, ¶¶ 15-19. However, based on the facts alleged by the Attorney
General and the sources cited in support of his allegations, none of these charges can be sustained or survive legal
scrutiny. This is further evidence of the Attorney General’s abuse of the administrative subpoena process.

                                                         2
         The Texas Attorney General’s disregard for the constitutional rights of Annunciation

House employees and its guests vindicates the Supreme Court’s concerns over statutes that fail to

provide a process for precompliance review. For these reasons, the Court finds Sections 12.151

and 12.152 of the Texas Business Organizations Code to be facially unconstitutional.

         Additionally, the Attorney General’s actions in its use of the request to examine and his

predetermined efforts to close down Annunciation House are substantially motivated by his

retaliation against Annunciation House’s exercise of its First Amendment right to expressive

association, as proscribed by Boy Scouts of America v. Dalte, 530 U.S. 640, 648 (2000) and

Keenan v. Tejeda, 20 F.3d 252, 259 (5th Cir. 2002).

         Finally, the Attorney General’s request to examine is an adverse action, in part, against

Annunciation House’s support for the Catholic Church, which is disallowed by TEX. GOV’T

CODE § 2400.002 as described in Dohlen v. City of San Antonio, 643 S.W.3d 387, 389-90 (Tex.

2022).

         2.     Defendant Texas Attorney General Ken Paxton’s failure to allow Annunciation
                House, Inc. an opportunity to seek precompliance review renders its
                administrative subpoena void.

         As discussed above, the Supreme Court in City of Los Angeles v. Patel unequivocally

established a requirement for precompliance review of administrative subpoenas like the request

to examine at issue in this case. Nevertheless, having established that TEX. BUS. ORGS. CODE

121.151 and 12.152 are facially unconstitutional, the Attorney General could have provided

Annunciation House the required precompliance review that would have allowed it to investigate

any alleged violations of law. Instead, the Attorney General chose to harass a human rights

organization with impunity and with disregard to his duty to faithfully uphold the laws of Texas

and the United States.



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        As the top law enforcement officer of the State of Texas, the Attorney General has a duty

to uphold all laws, not just selectively interpret or misuse those that can be manipulated to

advance his own personal beliefs or political agenda.

        3.      Annunciation House, Inc. is entitled to declaratory relief protecting it from
                Defendant Texas Attorney General Paxton’s harassment and overreaching.

        As discussed, supra, Annunciation House has met its burden for injunctive relief. First,

the Attorney General’s wrongful acts against Annunciation House have no adequate remedy at

law because of the Constitutional rights implicated. Second, the Attorney General’s conduct in

harassing and pursuing predetermined outcomes, without regard to the rights of Annunciation

House’s employees and guests is imminent, ongoing and irreparable.

        IT IS THEREFORE ORDERED, ADJUDGED and DECREED that Annunciation

House, Inc’s Traditional and No-Evidence Motion for Summary Judgment be GRANTED in its

entirety.

        IT IS FURTHER ORDERED, ADJUDGED and DECREED that Annunciation

House, Inc. is entitled to the following INJUNCTIVE RELIEF:

        1. Any future administrative subpoenas served by the Texas Attorney General on

             Annunciation House, Inc. must be filed in this litigation;

        2. The Court will retain jurisdiction and conduct precompliance review that

             Annunciation House, Inc. may seek as to any new subpoena; and

        3. This injunction expires two (2) years after the date of this order, which may be

             shortened or lengthened upon a showing of good cause.

SO ORDERED on July 1, 2024.


                                                       Judge Francisco X. Dominguez
                                                       205th District Judge

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